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 4
     Attorney for Defendant,
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 7
                             IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,           )                No. CR S 05-0034 LKK
11                                       )
                 Plaintiff,              )                STIPULATION AND ORDER
12                                       )                CONTINUING DATE FOR JUDGMENT
           v.                            )                AND SENTENCING
13                                       )
     JAY BRIAN McCASTLE and DAVID        )
14   TALCOTT USSERY,                     )
                                         )                Date: July 18, 2006
15                                       )                Time: 9:30 a.m.
                 Defendants.             )                Court: Honorable Lawrence K. Karlton,
16   ____________________________________)                United States Senior District Court Judge
17   The parties hereby stipulate to the following:
18   1.     This matter is now set for judgment and sentencing on July 18, 2006, at 9:30 a.m.. In
19          order to afford defense counsel additional time to prepare materials relevant to
20          sentencing, all parties stipulate that the date for judgment and sentencing be continued to
21          August 29, 2006, at 9:30 a.m., and that the August 18, 2006 date be vacated.
22
23   DATED: July 12, 2006                  /s/ Tim Warriner, Attorney for defendant,
                                           JAY BRIAN McCASTLE
24
     DATED: July 12, 2006                  /s/ James Ralph Greiner, Attorney for defendant,
25                                         DAVID TALCOTT USSERY
26   DATED: July 12, 2006                  /s/ Anne Pings, Assistant United States Attorney,
                                           Attorney for the Government
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28                                                    1
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 3                                               ORDER
 4          GOOD CAUSE APPEARING, it is hereby ordered that the July 18, 2006 judgment and
 5   sentencing date be vacated and that the matter instead be set for judgment and sentencing on
 6   August 29, 2006.
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 8   DATED: July 13, 2006
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